            Case 2:10-cr-00305-MCE Document 142 Filed 02/09/15 Page 1 of 2


 1            LAW OFFICES OF
           CHRISTOPHER H. WING
 2   2701 DEL PASO ROAD, SUITE 130 #45
       SACRAMENTO, CA 95835
 3                State Bar #063214


 4
     ATTORNEYS FOR:             Defendant
 5
 6
                                       IN THE UNITED STATES DISTRICT COURT
 7
                                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9    UNITED STATES OF AMERICA                            No.        2:10 Cr. 305 MCE
                                                      )
10                                       Plaintiff,       REQUEST TO FILE DOCUMENTS
                                                          UNDER SEAL AND ORDER
11           v.
12
      SARA SHIRAZI, ET. AL
13                       Defendants,
14
15
16            Comes now SARA SHIRAZI, requesting that the Court allow the filing under seal of
17   the Opthomalogical report of Dr. Vahid Feiz, the Neuropsychology report of Dr. Grant L.
18   Hutchinson, PhD., the Supplemental Report of                     Dr. Michael Kasman and an Excel
19   spreadsheet of Ms. Shirazi’s record of progress in reviewing the discovery materials in the
20   case, redacted to eliminate attorney-client information. The request is based on the content
21   of the reports, which include personal and medical information.
22
23                                                              //
24                                                              //
25                                                              //
26                                                              //
27                                                              //
28                                                              //

     ///                                                   1
                        Case 2:10-cr-00305-MCE Document 142 Filed 02/09/15 Page 2 of 2


              1
                                                             ORDER
              2
                          The Court having reviewed the request to allow a document to be filed under seal,
              3
                  and good cause appearing therefore, IT IS ORDERED that Opthomalogical report of Dr.
              4
                  Vahid Feiz, the Neuropsychology report of Dr. Grant L. Hutchinson, PhD., the Supplemental
              5
                  Report of Dr. Michael Kasman’ and a redacted Excel spreadsheet of Ms. Shirazi’s record
              6
                  of progress in reviewing the discovery materials in the case shall be filed under seal.
              7
                          IT IS SO ORDERED.
              8
                  Dated: February 6, 2015
              9
            10
            11
            12
            13
            14
            15
            16
            17
            18

            19
            20
            21
            22
            23
            24
            25
            26
            27
            28
LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
                                                                  2
